          Case 8:21-bk-12507-TA                   Doc 93 Filed 05/11/22 Entered 05/11/22 15:58:31                                      Desc
                                                   Main Document    Page 1 of 4



 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &       FOR COURT USE ONLY
 Email Address

 STEVEN T. GUBNER – Bar No. 156593
 SUSAN K. SEFLIN – Bar No. 213865
 JESSICA L. BAGDANOV - Bar No. 281020
 JESSICA S. WELLINGTON – Bar No. 324477
 BG LAW LLP
 21650 Oxnard Street, Suite 500
 Woodland Hills, CA 91367
 Telephone: (818) 827-9000
 Facsimile: (818) 827-9099
 Email: sgubner@bg.law; sseflin@bg.law;
 jbagdanov@ bg.law; jwellington@bg.law


      Individual appearing without attorney
      Attorney for: DCM-P3, LLC, Debtor in Possession

                                       UNITED STATES BANKRUPTCY COURT
                         CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION                                       DIVISION

 In re:                                                                       CASE NO.: 8:21-bk-12507-TA
                                                                              CHAPTER: 11
 DCM-P3, LLC,




                                                                                   NOTICE OF SALE OF ESTATE PROPERTY

                                                              Debtor(s).


 Sale Date: 06/01/2022                                                        Time: 10:00 am

 Location: Courtroom 5B, 411 West Fourth Street, Santa Ana, California 92701

Type of Sale:           Public         Private               Last date to file objections: 05/18/2022

Description of property to be sold:
Residential real property located at 34 Black Hawk, Irvine, California 92603.




Terms and conditions of sale:
 Cash sale, no warranties, "as-is, where-is" "all faults" basis, without warranties, express or implied, and no
 contingencies, free and clear of all liens, claims, interests and encumbrances.



                     $ 5,700,000.00
Proposed sale price: _________________________________


           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2012                                                             Page 1                                    F 6004-2.NOTICE.SALE
        Case 8:21-bk-12507-TA                   Doc 93 Filed 05/11/22 Entered 05/11/22 15:58:31                                      Desc
                                                 Main Document    Page 2 of 4


Overbid procedure (if any): Initial minimum overbid $5,725,000.00, minimum increments of $5,000 thereafter. Overbid
deposit of $177,000 plus proof of financial worthiness to close sale to be provided to debtor's counsel at or before
hearing. Must notify debtor's counsel at sseflin@bg.law & jbadnanov@bg.law of intent to overbid 3 days before hearing.

If property is to be sold free and clear of liens or other interests, list date, time and location of hearing:
June 1, 2022 at 10:00 a.m. in Courtroom 5B, United States Bankruptcy Court located at 411 West Fourth Street, Santa
Ana, California 92701 via ZoomGov

The following is the unique ZoomGov connection information for the above-referenced hearing:
 Meeting URL: https://cacb.zoomgov.com/j/1618378535
 Meeting ID:      161 837 8535
 Password:        833587
 Telephone:      1-669-254-5252 OR 1-646-828-7666


Contact person for potential bidders (include name, address, telephone, fax and/or email address):
 Susan K. Seflin
 Jessica L. Bagdanov
 BG LAW LLP
 21650 Oxnard Street, Suite 500
 Woodland Hills, CA 91367
 Tel: (818) 827-9000
 Fax: (818) 827-9099
 Email: sseflin@bg.law; jbagdanov@bg.law




Date: 05/11/2022




         This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2012                                                        Page 2                                       F 6004-2.NOTICE.SALE
        Case 8:21-bk-12507-TA                   Doc 93 Filed 05/11/22 Entered 05/11/22 15:58:31                                      Desc
                                                 Main Document    Page 3 of 4



                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 21650 Oxnard St., Suite 500, Woodland Hills, CA 91367

A true and correct copy of the foregoing document entitled: NOTICE OF SALE OF ESTATE PROPERTY will be served or
was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 05/11/2022 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date)                , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                  , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

05/11/2022          Jessica Studley                                                          /s/ Jessica Studley
Date                        Printed Name                                                      Signature




         This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2012                                                        Page 3                                       F 6004-2.NOTICE.SALE
Case 8:21-bk-12507-TA        Doc 93 Filed 05/11/22 Entered 05/11/22 15:58:31     Desc
                              Main Document    Page 4 of 4



#1: Parties to Be Served by the Court Via NEF:


      Anerio V Altman LakeForestBankruptcy@jubileebk.net, lakeforestpacer@gmail.com
      Jessica L Bagdanov jbagdanov@bg.law, ecf@bg.law
      Greg P Campbell ch11ecf@aldridgepite.com,
       gc@ecf.inforuptcy.com;gcampbell@aldridgepite.com
      Marc C Forsythe kmurphy@goeforlaw.com,
       mforsythe@goeforlaw.com;goeforecf@gmail.com
      Steven T Gubner sgubner@bg.law, ecf@bg.law
      Michael J Hauser michael.hauser@usdoj.gov
      Aaron J Malo amalo@sheppardmullin.com,
       clopez@sheppardmullin.com;abilly@sheppardmullin.com
      Eric S Pezold epezold@swlaw.com, knestuk@swlaw.com
      Susan K Seflin sseflin@bg.law, ecf@bg.law
      Andrew Still astill@swlaw.com, kcollins@swlaw.com
      United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
      David Wood dwood@marshackhays.com,
       dwood@ecf.courtdrive.com;lbuchananmh@ecf.courtdrive.com;kfrederick@ecf.courtdri
       ve.com
